           Case 2:23-ap-01426-DS Doc 29 Filed 11/14/24                                            Entered 11/14/24 21:36:53                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
Complete Industrial Repair, Inc,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01426-DS
Torres,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 12, 2024                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 14, 2024:
Recip ID                 Recipient Name and Address
pla                    + Complete Industrial Repair, Inc, 7403 Telegraph Road, Montebello, CA 90640-6515
dft                    + Toby Edward Torres, 14115 Elmbrook Avenue, La Mirada, CA 90638-3809

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 14, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 12, 2024 at the address(es) listed
below:
Name                               Email Address
Frank E Marchetti
                                   on behalf of Plaintiff Complete Industrial Repair Inc frank@marchettilaw.com, marchettilaw@gmail.com

Howard M Ehrenberg (TR)
                                   ehrenbergtrustee@gmlaw.com
                                   ca25@ecfcbis.com;C123@ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files@gmlaw.com

Richard G. Heston
                                   on behalf of Defendant Toby Edward Torres rheston@hestonlaw.com
                                   yflores@hestonlaw.com,docs@hestonlaw.com,HestonRR41032@notify.bestcase.com,hestonlaw@recap.email

United States Trustee (LA)
                                   ustpregion16.la.ecf@usdoj.gov
       Case 2:23-ap-01426-DS Doc 29 Filed 11/14/24         Entered 11/14/24 21:36:53    Desc
                           Imaged Certificate of Notice    Page 2 of 4
District/off: 0973-2                     User: admin                                    Page 2 of 2
Date Rcvd: Nov 12, 2024                  Form ID: pdf031                               Total Noticed: 2
TOTAL: 4
Case 2:23-ap-01426-DS Doc 29 Filed 11/14/24                     Entered 11/14/24 21:36:53           Desc
                    Imaged Certificate of Notice                Page 3 of 4


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                                                                  FILED & ENTERED
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4                                                                       NOV 12 2024
5                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                   Central District of California
                                                                   BY bakchell DEPUTY CLERK
6

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8                            UNITED STATES BANKRUPTCY COURT

9                             CENTRAL DISTRICT OF CALIFORNIA

10                                   LOS ANGELES DIVISION

11   In re                                          Case No. 2:23-bk-13864-DS
12   TOBY EDWARD TORRES,                            Chapter 7
13                              Debtor.  Adv. No. 2:23-ap-01426-DS
     ___________________________________
14
     COMPLETE INDUSTRIAL REPAIR, INC.,
15                                                  ORDER CONTINUING STATUS
                                       Plaintiff,   CONFERENCE
16           v.
17   TOBY EDWARD TORRES,
18                                 Defendants.
19

20           A status conference was held on November 12, 2024. Frank E. Marchetti appeared
21   on behalf of the plaintiff. No appearance was made on behalf of the defendant. Based on
22   the foregoing, and for the reasons stated on the record,
23   ///
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Case 2:23-ap-01426-DS Doc 29 Filed 11/14/24                       Entered 11/14/24 21:36:53     Desc
                    Imaged Certificate of Notice                  Page 4 of 4


1           IT IS HEREBY ORDERED that the status conference is continued to December 17,

2    2024 at 1:00 p.m., at which time counsel should be prepared to discuss new dates for the

3    pre-trial order deadline, pre-trial conference, and trial.

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24     Date: November 12, 2024

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